                 Case 2:10-cr-00327-TLN Document 62 Filed 09/08/10 Page 1 of 3


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 9                                 UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                         Case No. CR 10-0327 MCE (DAD)

13                            Plaintiff,                STIPULATION AND ORDER
                                                        EXTENDING DEFENDANT AKBAR
14              vs.                                     BHAMANI’S AND DEFENDANT
                                                        FEROZA BHAMANI’S TIME TO
15    AKBAR BHAMANI, ET AL.,                            SECURE APPEARANCE BOND

16                            Defendants.

17
18
                                              STIPULATION
19
20          Defendant Akbar Bhamani, by and through his counsel, Edward Swanson, defendant

21   Feroza Bhamani, by and through her counsel, Matthew Bockmon, and the United States, by and

22   through Assistant United States Attorney R. Steven Lapham, hereby stipulate and agree as

23   follows:

24          1)        Akbar Bhamani and Feroza Bhamani made their initial appearances before this

25   Court on August 13, 2010. At that appearance, the government moved for the detention of both

26   Akbar and Feroza Bhamani.

27          2)        At the August 13 appearance the government also informed the Court that the

28   defense and the government had reached an agreement regarding the custody status of the
                  Case 2:10-cr-00327-TLN Document 62 Filed 09/08/10 Page 2 of 3


 1   defendants. Each defendant would be released on a $100,000 unsecured appearance bond co-
 2   signed by the defendants’s friend, Mr. Ashraf “Mike” Ali. This release was conditional on Mr.
 3   Ali’s posting of $100,000 worth of property to secure the bond by Friday, August, 27, 2010.
 4   The Court ordered the release of the defendants pursuant to this agreement.
 5           3)      On August 26, 2010, Akbar Bhamani filed a Stipulation and Proposed Order
 6   regarding the defendants’ secured bond. Under the terms of the Stipulation, the government and
 7   the defendants agreed that the defendants would use property owned by Ms. Bhamani’s brother,
 8   Amiruddin Sewani, and his wife, Nasreen Sewani, to secure the appearance bond. This property
 9   is located in New York state. The parties also agreed that the deadline for posting this property
10   would be extended to Friday, September 3, 2010. On August 27, 2010, the Court issued an
11   order pursuant to the parties’ stipulation.
12           4)      Following the Court’s order, defendants have been working diligently to obtain
13   the documents necessary to secure the bond. Defendants have procured an appraisal of the
14   property that will be used to secure the bond. Defendants, however, have encountered delays in
15   obtaining the title report for the property. Initially, the company hired to complete the title report
16   advised that the report would be completed by last Friday, August 24. When the report did not
17   arrive as scheduled, defendants inquired and were told that the report would be available early
18   this week. Most recently, defendants were told that the report would be ready the morning of
19   Wednesday, September 1, 2010. Again, the title company has failed to provide the report as
20   promised.
21           5)      Shortly after learning that the title report would not be ready on September 1,
22   2010, counsel for Akbar Bhamani contacted the government to request a stipulation extending
23   the time to post the property. Counsel learned that AUSA Steven Lapham was on vacation and
24   was directed to Mr. Lapham’s secretary, Ryan Sockwell, for further assistance.
25           6)      On September 2, 2010, counsel for Akbar Bhamnai spoke with Mr. Sockwell
26   regarding the need for this stipulation. Mr. Sockwell phoned Mr. Lapham and discussed the
27   stipulation with him. Mr. Sockwell then advised defense counsel that Mr. Lapham has no
28   objection to this request.

     Stipulation Regarding Bond
     U.S. v. Bhamani, et al., CR 10-0327 MCE (DAD)     2
                  Case 2:10-cr-00327-TLN Document 62 Filed 09/08/10 Page 3 of 3


 1           7)      The parties agree that the defendants have until September 13, 2010 to post the
 2   property necessary to secure the bond for Akbar and Feroza Bhamani.
 3
 4           IT IS SO STIPULATED.
 5
     Dated: September 2, 2010                                     /s/ Edward W. Swanson
 6                                                                EDWARD W. SWANSON
                                                                  Attorney for AKBAR BHAMANI
 7
     Dated: September 2, 2010                                     /s/ Matthew Bockmon
 8                                                                MATTHEW BOCKMON
                                                                  Attorney for FEROZA BHAMANI
 9
     Dated: September 2, 2010                                     /s/ R. Steven Lapham
10                                                                R. STEVEN LAPHAM
                                                                  Assistant United States Attorney
11
12
13
14                                                   ORDER
15           PURSUANT TO STIPULATION, IT IS SO ORDERED.
16
17   Dated: September 8, 2010                              /s/ Gregory G. Hollows
                                                           ____________________________
18                                                                 United States Magistrate Judge
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     bhamani.ord
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     Stipulation Regarding Bond
     U.S. v. Bhamani, et al., CR 10-0327 MCE (DAD)     3
